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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Antonio Cross,                                    )
                                                  )
                       Plaintiff,                 )
       vs.                                        )
                                                  ) Case No. 2013 CV 02269
City of Chicago, a municipal corporation          )
and Dante Servin,                                 )
                                                  )
                       Defendant.                 )
                                                  )

                                     NOTICE OF REMOVAL

       Defendants City of Chicago and Dante Servin by one of their attorneys, Liza M. Franklin,

Deputy Corporation Counsel of the City of Chicago, respectfully requests removal of the above

entitled action to this Court, pursuant to 28 U.S.C. §1441(a) and §1446 (a), based on the

following grounds:

       1.      Defendants City of Chicago and Dante Servin were named as defendants in a civil

action filed in the Circuit Court of Cook County of the State of Illinois, case number 2013 L

002882, entitled Antonio Cross v. City of Chicago, a municipal corporation and Dante Servin.

       2.      The Complaint was filed on March 20, 2013 and the summons and Complaint

were served upon the City of Chicago on March 22, 2013. Dante Servin has not been served but

will agree to this removal. See Summons and Complaint attached hereto as Exhibit A.

       3. Plaintiff brings this action pursuant to 42 U.S.C. § 1983 and Illinois common law. In

Count VII, Plaintiff alleges that the Plaintiff was subject to excessive force in violation of the

Fourth Amendment of The United States Constitution. The remaining counts make allegations

under Illinois law that defendant willfully and wantonly or negligently handled and discharged a

handgun or that the defendant failed to deter such actions and intentionally inflicted harm.
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       4. Based on the allegations of the amended complaint and for reasons set forth above,

Defendants are entitled to remove this action to this court, pursuant to 28 U.S.C. §1441(a).

       WHEREFORE, Defendants City of Chicago and Dante Servin respectfully request that

the above-entitled action now pending in the Circuit Court of Cook County in the State of

Illinois, case number 2013 L 002882, be removed therefrom to this Court.

                                                     Respectfully submitted,

                                                     /s/ Liza M. Franklin
                                                     Liza M. Franklin
                                                     Deputy Corporation Counsel
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